UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :           22md3043 (DLC)
IN RE: Acetaminophen – ASD-ADHD        :           22mc3043 (DLC)
Products Liability Litigation          :
                                       :           FINAL JUDGMENT
This Document Relates To: Cases Listed :
in Exhibit 1                           :
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DENISE COTE, District Judge:

        On December 18, 2023, the defendants’ Rule 702 motions

regarding the plaintiffs’ proposed general causation expert

testimony were granted.     On January 16, this Court issued an

Order to Show Cause why summary judgment should not be entered

in each Member Case of this MDL in which the SFC was served on

or before January 11, 2024.

        The January 16 Order also provided that plaintiffs in any

Member Case in which an SFC was served on or after January 12,

2024 shall have 21 days from the date of service to show cause

why summary judgment should not be entered in favor of the

defendants named in that Member Case for failure to 1) present

admissible evidence of general causation; 2) show any error in

the December 17, 2023 Rule 702 Opinion; and/or 3) show why the

December 18, 2023 Rue 702 Opinion does not apply to their Member

Case.

        On February 1, 2024, plaintiffs conceded that summary

judgment was proper in each Member Case listed in Exhibit A to
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